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                               UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

    In re:                                                               Chapter 11

    WALKER COUNTY HOSPITAL CORPORATION,                                  Case No. 19-36300-DRJ
    d/b/a HUNTSVILLE MEMORIAL HOSPITAL,

                     Debtor and Debtor in Possession.1


         DECLARATION OF STEVEN L. SMITH IN SUPPORT OF FIRST DAY MOTIONS

             I, Steven L. Smith, declare under penalty of perjury as follows:

             1.     I am an adult of sound mind and am competent to testify to the matters set forth in

this declaration.

             2.     I am the Chief Executive Officer of Walker County Hospital Corporation, d/b/a

Huntsville Memorial Hospital (the “Debtor”), the debtor and debtor in possession in this chapter

11 case (the “Chapter 11 Case”).

             3.     I have served in my current capacity since February 2019.

             4.     In such capacity, I am generally familiar with the Debtor’s day-to-day operations,

business and financial affairs, and books and records.

             5.     While I am the Chief Executive Officer of the Debtor and work under the direction

of the Debtor’s Board of Directors, I am employed by Healthcare Management Partners, LLC

(“HMP”), a restructuring advisory services firm, specializing in the healthcare industry.

             6.     HMP has been providing restructuring advisory services to the Debtor, including

the provision of officers and other professionals with restructuring experience in the healthcare

industry, since March 2018.


1
 The last four digits of the Debtor’s federal tax identification number are: 0960. The location of the Debtor’s service
address is: P.O. Box 4001, Huntsville, TX 77342-4001, Attn: Steven Smith.


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         7.        I have over thirty-nine (39) years of experience in the healthcare industry.

         8.        During that time, I have advised clients on business strategy and planning, financial

analysis, cash management, crisis management, market analysis, and operational improvements.

         9.        Prior to joining HMP, I worked as the chief executive officer of Matagorda

Regional Medical Center in Bay City, Texas, from 2008 through 2018.

         10.       As chief executive officer of Matagorda Regional Medical Center, I provided day-

to-day strategic and operational leadership for the fifty-eight (58) bed general acute care hospital,

which had annual net revenues of approximately sixty-eight million dollars ($68,000,000) and four

hundred fifty (450) FTEs, a freestanding wellness and rehabilitation center, an affiliated multi-

specialty provider group, a primary care clinic, and a rural ACO.

         11.       I was also involved in the formation of the Texas Rural Accountable Care

Organization, serving as its board chair for three years.

         12.       I have also previously served as, among other things, the: (a) chief executive officer

of 372 bed Eliza Coffee Memorial Hospital, leading an 18-month turnaround, reversing a $4

million loss to a $6 million gain; and (b) president and chief executive officer of 286 bed Memorial

Medical Center where I improved financial results from an operating loss to an EBITDA of over

11%, and led the creation of a 501(c)(3) operating company to lease and operate the hospital on

behalf of the county.

         13.       I have a Bachelor of Science in Business Administration from the University of

Alabama and a Master of Science in Healthcare Administration from Trinity University.

         14.       I am also a Board Certified Fellow (FACHE) designated by the American College

of Healthcare Executives.




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         15.       I submit this declaration to assist this Court and parties in interest in understanding

the circumstances compelling the commencement of this Chapter 11 Case and in support of: (a) the

Debtor’s petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”); and (b) the emergency relief that the Debtor has requested from this Court, pursuant to

the motions and applications referenced in, and filed contemporaneous with, this declaration.

         16.       Except as otherwise indicated in this declaration, all facts set forth in this

declaration are based upon my personal knowledge, my discussions with other members of the

Debtor’s management team and the Debtor’s advisors, and my review of the relevant documents

and information concerning the Debtor’s operations, financial affairs, marketing efforts, and

refinancing and restructuring initiatives.

         17.       If called to testify, I could and would testify competently to the facts set forth in

this declaration.

                                              INTRODUCTION

         18.       The Debtor operates a community hospital (the “Hospital”) located in Huntsville,

Texas. As a non-profit, the Debtor is devoted to the health and well-being of its regional

communities by providing exceptional care to its patients.

         19.       While the Hospital has outpaced market trends in the region for admissions and

revenue, and has little outstanding long-term debt, as a standalone hospital operator, the Debtor

faces significant challenges in acquiring competitive pricing for necessary goods and services and

favorable managed care contracts as compared to multi-hospital systems. As a result, the Hospital

has significantly above average operating costs that exceed its revenue generation. In addition, the

Debtor’s over-extension into rural healthcare clinics and a failed lab venture and ambulatory

surgery center, among other issues, have resulted in an unsustainable balance sheet and liquidity

shortfall.
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         20.       Faced with the foregoing, the Debtor has filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code on November 11, 2019 (the “Petition Date”) and engaged

restructuring advisors to assist in the development and negotiation of a plan to restructure the

Debtor’s obligations.

         21.       To fund this Chapter 11 Case, the Lenders (as defined herein), as proposed post-

petition lenders, have agreed to provide up to $5 million in post-petition financing pursuant to a

senior secured super-priority debtor-in-possession revolving loan, all as more fully described

herein. This financing is the result of good faith, arm’s-length negotiations between the Debtor

and the Lenders, as proposed post-petition lenders, and will provide the Debtor with the necessary

liquidity to conduct this Chapter 11 Case, review and analyze the Debtor’s options for effectuating

a successful outcome, and expeditiously implement the best strategy for the Debtor, its estate, its

creditors, and other parties in interest.

         22.       This declaration is organized in sections as follows: (a) the Debtor’s history and

operational and capital structure; (b) the circumstances surrounding the commencement of this

Chapter 11 Case; and (c) the evidentiary basis for the relief requested in each of the filings filed

contemporaneous with this declaration in this Chapter 11 Case.

  I.     The Debtor’s history and operations.

         A. The Debtor’s corporate history and business operations.

         23.       The Hospital is a Joint Commission-accredited, not-for-profit acute care

community hospital. Founded in 1927 to memorialize those lost in World War I, the facility has

provided effective health care services, delivering quality care to the residents of Walker County

and its surrounding communities for over 90 years. The Hospital is the largest healthcare provider

in Walker County and the county’s fourth-largest employer.


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         24.       In 1975, the Texas legislature authorized an enabling act to form the Walker County

Hospital District (“District”) to provide for the establishment of a hospital within Walker County.

In 1977 the District, a political subdivision of the State of Texas, broke ground to construct the

facility that is currently the Hospital. The Debtor and the District are party to that certain

(i) Operating Agreement dated June 13, 2013 (as amended, the “Operating Agreement”) and

(ii) Lease Agreement dated June 13, 2013 (as amended, the “Lease Agreement” and together with

the Operating Agreement, the “Operating Documents”) pursuant to which the Debtor leases and

operates the Hospital.

         25.       The Debtor has operated the Hospital as a non-profit for the benefit of Walker

County and the surrounding communities since June 2005.

         26.       Beginning in 2008, the Debtor began expanding their line of business by

(i) acquiring an ambulatory surgery center and imaging center, (ii) opening several rural health

clinics and a standalone emergency department in Walker and surrounding counties, and

(iii) acquiring certain laboratory assets. All such business expansions were shuttered in 2018 and

early 2019, with the exception of the imaging center and one rural health clinic which are still in

operation.

         B. The Debtor’s corporate and capital structure.

         27.       The Debtor is a non-profit corporation organized under the laws of Texas. The

Debtor is the sole member of its non-debtor affiliate, HMH Physician Organization (“HMH PO”),

a non-profit health organization licensed by the Texas Medical Board, pursuant to chapter

162.001(b) of the Texas Occupations Code. Tex. Occ. Code § 162.

         28.       As of the Petition Date, the Debtor’s primary debt components included

approximately $18.7 million in accounts payable, $1.5 million in capital leases, and $2 million in


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principal outstanding obligations owing pursuant to a credit facility with MidCap Financial Trust

(“MidCap”) as lender.

         29.       In connection with the credit facility with MidCap, the Debtor and HMH PO are

borrowers (“Borrowers”) under that certain Revolving Loan and Security Agreement dated as of

May 16, 2014 by and among the Borrowers and MidCap as lender (as amended, restated,

supplemented, and otherwise modified from time to time, the “Loan Agreement”). Pursuant to the

Loan Agreement, MidCap agrees to lend to Borrowers, on a joint and several basis, subject to the

terms set forth in the Loan Agreement, revolving advances up to the maximum revolving

commitment of $8 million.

         30.       All amounts due and owing under the credit facility are secured by perfected, first

priority liens on and security interests in the Borrowers’ Receivables (as defined in the Loan

Agreement), specified deposit accounts, cash, records, general intangibles, and the proceeds of the

foregoing.

         31.       The Borrowers defaulted under certain financial covenants under the Loan

Agreement, including failing to meet the Fixed Charge Coverage Ratio as required by Section 10.2

of the Loan Agreement for each of the months of January through August 2019. Notwithstanding

efforts to cut costs to satisfy financial covenants, such defaults have persisted.

         32.       Pursuant to the Loan Agreement, the credit facility was initially set to mature on

May 12, 2017. The Borrowers and MidCap have entered into a series of amendments to the Loan

Agreement extending the maturity date to November 15, 2019.

         33.       The Debtor has continued to work collaboratively with MidCap towards a

restructuring and sale of the Debtor’s assets, and has successfully negotiated the terms of debtor




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in possession financing needed to successfully run this Chapter 11 Case, as more fully described

below.

 II.     Events leading to the Chapter 11 Case.

         34.       Contrary to national and state trends of declining inpatient census, admissions at

the Hospital have remained stable and the Debtor has grown its revenues in recent years. However,

certain issues related to, inter alia, the Debtor’s status as a standalone operator and unfavorable

managed care contracts have left the Debtor with insufficient cash flow.

         A. Standalone Hospital Challenges

         35.       As a standalone hospital, the Debtor bears the full cost of increasingly expensive

back office and support functions, while simultaneously having lower purchasing power and

leverage in contract negotiations. This has resulted in the Debtor obtaining below market managed

care contracts and unsustainable trade and payroll related balances.

         36.       In 2018, the State of Texas shifted its health insurance coverage for state employees

from United Healthcare to Blue Cross Blue Shield. This shift materially impacted the Debtor’s

revenue, as the Debtor’s contract with Blue Cross Blue Shield has less favorable reimbursement

rates and a large portion of the Hospital’s patient population is employed by the State. The Debtor

has been in negotiations with Blue Cross Blue Shield since 2016, in an attempt to obtain a managed

care contract with the insurer at a fair market rate, but efforts thus far have remained unsuccessful.

         B. Other Events

         37.       Beginning in 2008, the Debtor opened several rural health clinics in and outside of

Walker County. Despite hopes that these clinics would generate referrals to the Hospital, the

Debtor incurred material operating losses in connection with the clinics.

         38.       The Debtor also acquired a physician-owned ambulatory surgery center. Soon after

the purchase, key physicians at the surgery center found alternative employment, resulting in
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insufficient surgery volumes to justify the high cost operating room investment. In early 2019, the

Debtor shut down the ambulatory surgery center and consolidated the operations with the main

Hospital. This consolidation resulted in an incremental positive cash flow of over $700,000

through the elimination of duplicate expenditures.

         39.       In addition to the clinics and surgery center, in 2013 the Debtor operated a free

standing emergency department in Madisonville, Texas that resulted in additional cash drain, and

undertook a lab venture that was operational for a mere six months. These unsuccessful

acquisitions and the working capital depletion to fund losses further limited the Debtor’s cash flow

available to meet its financial covenants and pay vendors.

         40.       Finally, in 2017, the Debtor lost approximately $4 million in funding as a result of

failing to qualify as a Medicaid Disproportionate Share Hospital. The Debtor failed to qualify

primarily as a result of (a) the state changing its methodology to exclude prisoner patient days

from the calculation and (b) fewer deliveries of Medicaid patients occurring during the auditing

period due to the loss of key obstetricians at the Hospital and the closure of the Debtor’s prenatal

clinic, which closed as a result of flood damage caused by Hurricane Harvey.

         C. Defaults Under the Operating Documents

         41.       On January 9, 2018, the Debtor received notice from the District that it was in

default under the Operating Documents. The Debtor and District entered into the Forbearance

Agreement dated as of March 2018 (the “First Forbearance Agreement”) and the Second

Forbearance Agreement dated as of July 8, 2019 (“Second Forbearance Agreement”, and together

with the First Forbearance Agreement, the “Forbearance Agreements”).

         42.       Under the First Forbearance Agreement, among other things:

                   a.     the Debtor agreed to engage Michael Morgan of HMP as the Debtor’s
                          Interim Chief Executive Officer;

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                   b.     the District agreed to forbear from taking action under the “Notice of
                          Breach” provided that the Debtor agreed to comply with the other terms of
                          the Operating Documents as modified by the First Forbearance Agreement;
                          and

                   c.     the District agreed to abate the Restricted Rent Account monthly payments
                          by the Debtor in the amount of One Hundred Fourteen Thousand ($114,000)
                          per month, until the earlier of the following dates: (i) the date on which the
                          First Forbearance Agreement is terminated by the District; (ii) the date on
                          which such a transaction may be entered into with a third party that requires
                          renegotiation of the Operating Documents; and (iii) the financial condition
                          of the Debtor improved such that the District determined, in its sole
                          discretion but after consultation with the Debtor’s board of directors, that
                          reinstatement of the Restricted Rent Account monthly payment should be
                          reinstated.

          43.      Pursuant to the Second Forbearance Agreement, the District agreed to, among other

things:

                   a.     forbear from exercising remedies under the Operating Documents until the
                          earliest to occur of October 15, 2019 and the occurrence of an event of
                          default under the Operating Documents or Forbearance Agreements; and

                   b.     abate rent in the amount of $328,634.39 per month, until the earlier of the
                          following dates: (i) the date the Second Forbearance Agreement is
                          terminated by the District; (ii) the date on which such a transaction may be
                          entered into with a third party that requires renegotiation of the Operating
                          Documents; and (iii) the financial condition of the Debtor improves such
                          that the District determines, in its sole discretion but after consultation with
                          the Corporation Board, that reinstatement of the monthly payment is
                          warranted.

          44.      In connection with Second Forbearance Agreement, the Debtor and District entered

into that certain Security Agreement, dated July 8, 2019, pursuant to which the District holds an

interest in, among other things, the Debtor’s personal property, fixtures, accounts, money, licenses

and permits as security for the Debtor’s obligations under the Operating Documents. The Debtor

further executed that certain Deed of Trust, Assignment of Leases and Rents, Security Agreement,

Financing Statement, and Fixture Filing, dated July 2019, granting certain real and personal



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property to the District as security for the outstanding rental obligations owed to the District and

the Debtor’s ongoing obligations under the Operating Documents.

          45.      On October 25, 2019, the Debtor received a Notice of Termination of the Second

Forbearance Agreement from the District.

          D. Pursuit of strategic transaction.

          46.      In April, 2018 the Debtor engaged HMP to perform an operational and financial

assessment of the Hospital. As a result of these efforts, pursuant to the First Forbearance

Agreement, the Debtor hired Michael Morgan of HMP as the Interim Chief Executive Officer and

John Moore of HMP as the Debtor’s Interim Chief Financial Officer and undertook various cost

cutting and revenue improvement measures, including the closure of the ambulatory surgery center

and remaining clinics. In consultation with HMP and its advisors, the Debtor decided to undertake

a process to identify potential transactions that could alleviate the Debtor’s ongoing liquidity

constraints.

          47.      In June 2018, the Debtor engaged Hammond Hanlon Camp, LLC (“H2C”) to,

among other things: (a) identify opportunities for a transaction; (b) advise the Debtor concerning

opportunities for a transaction; and (c) as appropriate, participate on the Debtor’s behalf in

negotiations concerning a transaction. Upon its engagement, H2C undertook a robust marketing

process to solicit offers for a transaction for the sale of substantially all assets of the Debtor’s

estate.

          48.      In consultation with the Debtor and the Debtor’s professionals, H2C developed

marketing materials generally describing the Debtor’s assets and operations (the “Offering

Memorandum”). Subsequently, the Offering Memorandum was provided to approximately thirty-

six (36) entities and persons H2C had identified as entities or persons that may have an interest in

purchasing all or some portion of the Debtor’s assets.
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         49.       As a result, twenty (20) interested parties requested confidentiality agreements,

with twelve (12) interested parties executing confidentiality and nondisclosure agreements with

the Debtor and being given access to extensive diligence information.

         50.       From July 2018 through the Petition Date, various of the twelve (12) parties in

interest that executed confidentiality and nondisclosure agreements conducted diligence regarding

the Debtor’s assets and operations.

         51.       As a result, the Debtor received “expressions of interest” or other similar

documents, each containing varying levels of specificity and conveying varying levels of actual

interest in pursuing a potential transaction. Ultimately none of the expressions of interest resulted

in a viable transaction.

         52.       Facing a lack of interested purchasers, in an effort to prevent the closure of the

Hospital, the District indicated that it would consider purchasing the Debtor’s assets via a joint

venture formed by the District in conjunction with Community Hospital Corporation through a

section 363 sale under chapter 11 of the Bankruptcy Code.

III.     Evidentiary support for the first day motions.2

         53.       The Debtor has filed a number of first day motions, seeking entry of orders granting

various forms of relief.

         54.       As set forth in more detail below, I believe the forms of relief requested are

necessary to enable the Debtor to operate with minimal disruption during the pendency of this

Chapter 11 Case and to ensure the best outcome for the Debtor, its estate, its creditors, and other

parties in interest.




2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the applicable
motion.
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         55.       I have reviewed each of the first day motions, including the exhibits and other

attachments to the first day motions.

         56.       I believe that the Debtor has satisfied the applicable standards for the relief

requested in each of the first day motions and that this Court’s grant of the requested relief is in

the best interests of the Debtor’s estate, its creditors, and other parties in interest.

         57.       A description of the relief requested and the facts supporting each of the first day

motions is set forth below.

         58.       Based upon the foregoing and the facts below, I respectfully submit that the first

day motions should be granted.

         A. Debtor’s Emergency Motion for Entry of an Order Authorizing Certain
            Procedures to Maintain the Confidentiality of Patient Information As Required
            By Applicable Privacy Rules (the “HIPAA Motion”).

         59.       Pursuant to the HIPAA Motion, the Debtor seeks entry of an order authorizing

certain procedures to maintain the confidentiality of patient information, as required by the Health

Insurance Portability and Accountability Act of 1996 (“HIPAA”) and the Texas Medical Records

Privacy Act (“TMRPA”), while providing required disclosure in this Chapter 11 Case.

         60.       As detailed in this declaration, the Debtor is in the business of operating a facility

that provides healthcare services to individual patients.

         61.       In the ordinary course of the Debtor’s business, the Debtor has access to and

receives “Protected health information” and data relating to patients, which the Debtor is required

to confidentially maintain, pursuant to HIPAA and TMRPA.

         62.       Some of the patients could potentially hold actual or contingent claims against the

Debtor’s estate and, accordingly, under the Bankruptcy Code, the Debtor has a duty to list all such

creditors on the Debtor’s mailing matrices and bankruptcy schedules


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         63.       In an effort to comply with governing law, the Debtor proposes certain procedures

to maintain patient confidentiality during the pendency of this Chapter 11 Case (the “Privacy

Procedures”).

         64.       Given the nature of any information that may reveal the identity of patients,

confidentiality in this context is of paramount importance.

         65.       I believe the Privacy Procedures and the relief requested in the HIPAA Motion

appropriately balance the need to maintain confidential patient information under HIPAA and

TMRPA with the need for adequate disclosure under the Bankruptcy Code.

         66.       Therefore, on behalf of the Debtor, I submit that this Court should approve the

HIPAA Motion.

         B. Debtor’s Emergency Motion for Entry of an Order Authorizing the Debtor to:
            (I) Continue Insurance Coverage Entered Into Prepetition and Satisfy Related
            Prepetition Obligations; (II) Renew, Amend, Supplement, Extend, or Purchase
            Insurance Policies; (III) Honor the Terms of Premium Financing Agreements and
            Pay Related Premiums; and (IV) Enter Into New Premium Financing Agreements
            in the Ordinary Course (the “Insurance Motion”).

         67.       Pursuant to the Insurance Motion, the Debtor requests entry of an order authorizing

the Debtor to (i) continue insurance coverage entered into prepetition and satisfy related

prepetition obligations, (ii) renew, amend, supplement, extend, or purchase insurance policies,

(iii) honor the terms of certain premium financing agreements and pay the related premiums, and

(iv) enter into or renew certain premium financing agreements in the ordinary course of business.

         68.       In the ordinary course of business, the Debtor maintains approximately fourteen

(14) insurance policies that are administered by various third-party insurance carriers (collectively,

the “Insurance Carriers”).

         69.       The policies maintained by the Debtor provide coverage for, among other things,

the Debtor’s property, general liability, automobile liability, excess umbrella liability, directors’

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and officers’ liability, employer’s liability, operator’s liability, and professional liability

(collectively, the “Insurance Policies”).

         70.       A schedule of the Insurance Policies is attached to the Insurance Motion as Exhibit

B.

         71.       The aggregate annual premium for the Debtor’s Insurance Policies is approximately

$606,000, not including applicable taxes, surcharges, deductibles, and broker and consulting fees

and commissions. The Debtor is also responsible for the payment of premiums for the Insurance

Policies maintained by HMH PO of which the annual premium amounts to approximately

$700,000.

         72.       As of the Petition Date, I believe that the Debtor does not have any outstanding

premium payments due and owing, however, on account of non-financed Insurance Policies,

approximately $9,500 will become due and owing within the first twenty-one days of this Chapter

11 Case.

         73.       In addition, pursuant to the Insurance Policies, I believe that the Debtor may be

required to pay various deductibles or retention amounts (the “Insurance Deductibles”),

depending upon the type of claim and Insurance Policy involved.

         74.       Under certain Insurance Policies, the Insurance Carrier may pay claimants and then

invoice the Debtor for any Insurance Deductible.

         75.       In those situations, the Insurance Carrier may have prepetition claims against the

Debtor.

         76.       While I am unaware of any Insurance Deductibles that are due and owing as of the

Petition Date, the Debtor nevertheless seeks authority, subject to the terms of any orders of this

Court governing use of cash collateral or the incurrence of debtor in possession financing, to honor


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any amounts owed to an Insurance Carrier under an Insurance Policy to ensure uninterrupted

coverage.

         77.       A majority of the Debtor’s Insurance Policies are paid pursuant to a premium

financing agreement (the “Premium Financing Agreement”) between the Debtor and Prime Rate

Premium Finance Company. Pursuant to the Premium Financing Agreement, the Debtor is

required to make nine monthly payments of $40,875.08. As of the Petition Date, there are five

payments remaining, the next coming due and owing on December 1, 2019.

         78.       I believe the relief requested in the Insurance Motion is necessary to ensure

uninterrupted operations and is in the best interests of the Debtor and its estate. Therefore, on

behalf of the Debtor, I submit that the Insurance Motion should be approved.

         C. Debtor’s Emergency Motion for Entry of an Order (I) Authorizing Debtor’s
            Proposed Form of Adequate Assurance of Payment to Utility Companies; (II)
            Establishing Procedures for Resolving Objections By Utility Companies; and (III)
            Prohibiting Utility Companies From Altering, Refusing, or Discontinuing Service
            to the Debtor (the “Utilities Motion”).

         79.       Pursuant to the Utilities Motion, the Debtor requests entry of an order:

(i) prohibiting the Utility Companies from altering, refusing, or discontinuing Utility Services to,

or discriminating against, the Debtor on account of any outstanding amounts for services rendered

prepetition, or any perceived inadequacy of the Debtor’s proposed adequate assurance;

(ii) determining that the Utility Companies have received adequate assurance of payment for future

Utility Services; (iii) approving procedures pursuant to which Utility Companies may request

additional or different assurances beyond those set forth in the motion; and (iv) approving

procedures for resolving objections by Utility Companies.

         80.       In the ordinary course of business, the Debtor obtains traditional utility services

related to the day-to-day operation or maintenance of the Debtor’s business from myriad utility


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providers (each a “Utility Company” and collectively, the “Utility Companies”) for, among other

things, water, electricity, telephone, and internet services (the “Utility Services”).

         81.       Prior to the Petition Date, the Debtor has consistently made payments to the Utility

Companies on a regular and timely basis. To my knowledge, there are no material defaults or

arrearages with respect to the Debtor’s undisputed invoices for Utility Services, other than the

payment interruptions that may be caused by the commencement of this Chapter 11 Case.

         82.       Uninterrupted Utility Services are essential to the continued operation of the

Debtor’s business and, consequently, to the success of this Chapter 11 Case. Should any Utility

Company alter, refuse, or discontinue service, even for a brief period, I believe that the Debtor’s

business operations could be severely disrupted, and such disruption would jeopardize the Debtor’s

reorganization efforts and patient safety. Accordingly, the Debtor seeks to establish an orderly

process for providing adequate assurance to Utility Companies without hindering the Debtor’s

ability to function as a going concern.

         83.       On average, the Debtor pays approximately $107,000 each month for the Utility

Services, calculated as a historical average over the last twelve months (or where historical

averages were not available, based on projected expenditures).

         84.       The Debtor estimates, and I agree, that the cost for the Utility Services during the

next two weeks (not including any deposits to be paid) will be approximately $53,500.

         85.       Of the Utility Providers, approximately four hold deposits in the aggregated amount

of approximately $1,130.00.

         86.       I believe the relief requested in the Utilities Motion is necessary to ensure

uninterrupted operations and is in the best interests of the Debtor and its estate. Therefore, on

behalf of the Debtor, I submit that the Utilities Motion should be approved.


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         D. Debtor’s Emergency Motion for Entry of Interim and Final Orders:
            (I) Authorizing the Debtor to (A) Continue to Operate the Debtor’s Cash
            Management System, (B) Pay Any Prepetition or Postpetition Amounts
            Outstanding on Account of Bank Fees, (C) Maintain Existing Business Forms in
            the Ordinary Course of Business, and (D) Continue to Perform Intercompany
            Transactions Consistent with Historical Practice; and (II) Granting Related Relief
            (the “Cash Management Motion”).

         89.       Pursuant to the Cash Management Motion, the Debtor requests entry of interim and

final orders: (i) authorizing the Debtor to (a) continue to operate the Debtor’s cash management

system, (b) pay any prepetition and postpetition amounts outstanding on account of associated

bank fees, (c) maintain existing business forms in the ordinary course of business, and (d) continue

to perform certain intercompany transactions consistent with historical practice; and (ii) granting

certain related relief.

         90.       In the ordinary course of business, the Debtor maintains an integrated cash

management system (the “Cash Management System”) in the day-to-day operation of the

Debtor’s business, to collect, manage, and disburse funds generated in connection with the

Debtor’s business.

         91.       The Debtor designed the Cash Management System to meet the Debtor’s operating

needs, enable management to control and monitor corporate funds, comply with the requirements

of its financing agreements, reduce administrative expenses by facilitating the movement of funds,

and enhance the development of accurate account balances.

         92.       The Debtor’s treasury department maintains daily oversight over the Cash

Management System and utilizes cash management controls for entering, processing, and releasing

funds, including in connection with Intercompany Transactions (as defined below).

         93.       The Debtor’s accounting department regularly reconciles the Debtor’s books and

records to ensure that all transfers are accounted for properly.


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         Debtor Bank Accounts.

         94.       The Cash Management System is composed of fourteen (14) Debtor-owned and

controlled bank accounts (each a “Bank Account” and collectively, the “Bank Accounts”) listed

on Exhibit C attached to the Cash Management Motion with BBVA USA, US Bank, and First

National Bank of Huntsville (collectively, the “Cash Management Banks”).

         95.       The Bank Accounts are primarily utilized to (a) pay operating expenses, and

(b) receive payments from insurance providers, clients, credit card processors, and other parties.

Certain Bank Accounts also facilitate the movement of funds to other accounts of the Debtor.

         96.       Three (3) of the Debtor Bank Accounts are restricted accounts that hold donated

funds raised and contributed by community members for the benefit of: (a) the Huntsville

Memorial Hospital Batten Nurse Scholarship Fund; (b) the Huntsville Memorial Hospital FNB

Vocational Nurse Scholarship Fund; and (c) the Walker County Hospital Corporation

Mammogram Fund. Cash held in the restricted accounts is used solely for purposes of the

scholarship and mammogram programs. As of the Petition Date, the total balance of these

restricted accounts was approximately $130,000.

         97.       The Debtor routinely deposits, withdraws, and otherwise transfers money to, from,

and between certain of the Bank Accounts by various methods, including by wire transfer, internal

transfer, zero balance account transfer, automatic clearing house transfer, and checks (collectively,

the “Ordinary Transfer Methods”).

         98.       A diagram reflecting the flow of funds through the Bank Accounts in the Cash

Management System is attached to the Cash Management Motion as Exhibit D.

         99.       The amount of funds that flow through the Cash Management System on a monthly

basis fluctuates greatly, depending on, among other things, new client deposits, census level, and

depositing of checks in transit.
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         Non-Debtor Bank Accounts.

         100.      In addition to the Bank Accounts, the Cash Management System includes five (5)

bank accounts (the “Non-Debtor Accounts”) owned and managed by HMH PO.

         101.      In the ordinary course of business, the Debtor utilizes the Cash Management

System to make payments to, or create an intercompany claim that may be settled in cash, as the

case may require, among the Debtor and HMH PO, pursuant to the Intercompany Transactions

defined and described below.

         Bank Fees

         102.      The Debtor incurs periodic service charges and other fees in connection with the

maintenance of the Cash Management System, which fees and services are generally paid each

month (the “Bank Fees”).

         103.      The Debtor has historically incurred Bank Fees of approximately $7,000.00 per

month, which are debited from the respective Bank Account for which the Bank Fee was incurred.

         104.      As of the Petition Date, I understand that no Bank Fees have accrued and remain

unpaid, however the Debtor seeks permission to pay any Bank Fees and continue paying the Bank

Fees in accordance with past practices.

         Intercompany Transactions

         105.      The Debtor has historically and in the ordinary course of business engaged in

routine business relationships with HMH PO, its non-debtor affiliate (the “Intercompany

Transactions”), resulting in intercompany receivables and payables (collectively, the

“Intercompany Claims”) pursuant to contractual and non-contractual arrangements. As set forth

below, the Intercompany Transactions are necessary in order to (i) comply with account control

obligations under the Debtor’s prepetition revolving loan with MidCap and (ii) to fulfill the

Debtor’s non-profit mission of providing quality healthcare to the community. A failure to
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continue to perform the Intercompany Transactions would impair the Debtor’s ability to continue

operations in the ordinary course of business to the detriment of the Debtor’s estate and parties in

interest and at significant risk to the Debtor’s patients.

         Relationship of Debtor and HMH PO

         106.      The Debtor is the sole member of its non-debtor affiliate, HMH PO. Debtor and

HMH PO are parties to that certain Management Agreement dated November 1, 2008 pursuant to

which Debtor provides HMH PO certain management and administrative services, including but

not limited to, payroll servicing. In exchange, the physicians employed by HMH PO provide

healthcare services at the Hospital, thus generating facility fees for the Debtor and servicing

Debtor’s patients. The Debtor does not directly employ physicians and accordingly is dependent

on HMH PO to provide such practitioners.

         107.      HMH PO is a borrower under the Debtor’s prepetition Credit Facility with MidCap,

however HMH PO has not commenced its own chapter 11 case. As a Borrower (as such term is

defined the Loan Agreement) under the Credit Facility, HMH PO granted MidCap a first priority

lien on HMH PO’s Receivables (as defined in the Loan Agreement), specified deposit accounts,

cash, records, general intangibles, and the proceeds of the foregoing (collectively, “Collateral”).

         108.      In connection with the Loan Agreement, the Debtor and HMH PO entered into that

certain Depositary Agreement dated May 16, 2014 by and among the Borrowers, MidCap as

successor to the lender, and Compass Bank (as amended, the “Depositary Agreement”). Pursuant

to the Loan Agreement and Depositary Agreement, Debtor and HMH PO each daily sweep their

respective accounts receivable collections that constitute Collateral into MidCap designated

accounts for application to the Borrowers’ outstanding obligations under the Credit Facility.

MidCap then advances funds under the Credit Facility into a Debtor owned Bank Account in an

amount based upon the total collections received from both the Debtor and HMH PO. MidCap
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does not separately fund borrowings under the Credit Facility to HMH PO. Accordingly, all

borrowings under the Loan Agreement flow through Debtor owned accounts.

         109.      As a result, HMH PO does not retain any cash from its self-generated collections

and instead relies on the Debtor to transfer funds advanced from MidCap to HMH PO in an amount

sufficient to cover HMH PO’s operating expenses. Historically, HMH PO’s collections have been

equal to or less than its operating costs, depending on the productivity of the employed physicians

and their collections rate for the prior week. The Debtor funds any shortfall in collections necessary

to cover costs to ensure the physicians are able to continue providing services at the Hospital.

         The Intercompany Transactions are an essential component of the Debtor’s
         operations

         110.      Absent the continued use of Intercompany Transactions and the payment of any

prepetition Intercompany Claims, HMH PO will be denied access to its own generated cash and

borrowings under the Credit Facility and will likely cease performing services at the Debtor’s

hospital. This would result in a material disruption to the Debtor’s operations and could jeopardize

patient safety.

         111.      The Debtor has historically reflected the Intercompany Claims generated by the

Intercompany Transactions as journal entry receivables and payables, as applicable, in the

respective accounting system. The Debtor closely tracks all fund transfers in the respective

accounting system and, therefore, can ascertain, trace, and account for all Intercompany

Transactions. The Debtor intends to account for all postpetition Intercompany Transactions in

accordance with past practice.

         112.      Accordingly, the Debtor is seeking authority—and, to the extent applicable, relief

from the automatic stay—to continue the Intercompany Transactions in the ordinary course of



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business on a postpetition basis in a manner substantially consistent with the Debtor’s past

practices.

         Existing Business Forms and Checks

         113.      In the ordinary course of business, the Debtor uses a variety of checks,

correspondence, and business forms.

         114.      To minimize expenses to the Debtor’s estate and avoid unnecessarily confusing the

Debtor’s employees and creditors, the I believe it is appropriate to continue to use the existing

stock of checks, correspondence, and other business forms (including, without limitation,

letterhead, purchase orders, and invoices) (collectively, the “Business Forms”) as such forms were

in existence immediately before the Petition Date—without reference to the Debtor’s status as

debtor in possession—rather than disposing of the existing forms and delaying operations until

new Business Forms are obtained, or requiring the Debtor to include a legend on the Business

Forms that could cause unnecessary confusion.

         115.      After existing Business Forms are depleted, the Debtor’s Business Forms will

identify the Debtor’s status as a debtor in possession.

         116.      On behalf of the Debtor, I submit that the Cash Management Motion should be

approved.

         E. Debtor’s Emergency Motion for Entry of an Order: (I) Authorizing the Debtor to
            (A) Pay Certain Prepetition Wages, Benefits, and Other Compensation and
            (B) Continue Employee Compensation and Employee Benefits Programs; and
            (II) Granting Related Relief (the “Wages Motion”).

         117.      Pursuant to the Wages Motion, the Debtor requests entry of an order authorizing

the Debtor to (a) pay, in the Debtor’s discretion, prepetition amounts required under or related to

Employee Compensation, Deductions and Payroll Taxes, and Employee Benefits (each as defined

below and together with all fees, costs, and expenses incident to each, including amounts owed to

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third-party administrators, the “Employee Obligations”) as set forth in the motion; and

(b) maintain, and continue honoring and paying, in the Debtor’s discretion, all amounts with

respect to the Employee Obligations as such were in effect as of the commencement of this Chapter

11 Case and as such may be modified, amended, or supplemented from time to time in the ordinary

course of business, including amounts owed to third-party administrators.

         118.      In the ordinary course of business, the Debtor relies on the services of employed

personnel (each, an “Employee”) to conduct the operations of the Debtor’s business.

         119.      As of the Petition Date, the Debtor employs approximately 582 Employees. This

total does not include persons employed by HMH PO.

         120.      In the ordinary course of business, the Debtor pays Employees, among other things,

salary, expense reimbursements, and certain other forms of compensation and benefits, depending

on the services provided by the Employee to the Debtor.

         121.      The Employees perform a variety of critical functions, including operating and

administering the Debtor’s medical centers, providing health care services, and recruiting and

training nurses and technicians. Employees also engage in various functions to manage and support

the operations of the Debtor’s medical facility, including various administrative, marketing, legal,

accounting, finance, and management-related tasks. A majority of Employees are highly skilled

nurses and other medical professionals, and the skills and experience of the Employees are

essential to the Debtor’s ongoing operations.

       Employee Compensation.

         122.      The following summarizes the various types of Employee compensation offered by

the Debtor (collectively, the “Employee Compensation”):




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         (i)       Employee earnings.

         123.      In the ordinary course of business, Employees generally are paid on a bi-weekly

basis, with all Employees receiving their wages, salaries, and other compensation by direct deposit

or by way of a “Paycard.”3

         124.      On average, the Debtor’s gross payroll is approximately $1,100,000 per bi-weekly

pay period.

         125.      The Debtor pays its Employees’ wage and salary obligations4 (collectively, the

“Wages”) on either a salaried or hourly basis. In addition to Wages, the Debtor also pays certain

eligible Employees sign on bonuses or employee referral bonuses (collectively, the “Recruitment

Incentives” and together with Wages, “Employee Earnings”).

         126.      Recruitment Incentives are periodically adopted and revised by the Debtor in order

to help with recruiting efforts for historically hard to fill positions. The Debtor is currently offering

the following Recruitment Incentives: (i) sign on bonuses of $2,500 for a one year commitment

and $5,000 for a two year commitment for qualified emergency, intermediate care, labor and

delivery, medical, surgical, and correctional care registered nurses; (ii) a $1,500 sign on bonus for

a one year commitment for qualified CT, MRI, and mammogram radiology technicians; and

(iii) referral bonuses of $2,000 for Employees who refer a candidate for one of the positions

identified in (i) or (ii) above who is hired by the Debtor. Recruitment Incentives are paid on a

quarterly basis.


3
  Paycards are issued to Employees in lieu of a paper check for those Employees who either do not have a traditional
banking account to receive direct deposits in or who have otherwise elected to receive payment of their earnings via
Paycard. The Debtor’s Paycards are issued by BBVA, enabling the Employee to use the card for cash withdrawals at
ATMs, automatic bill payments, and at businesses that accept credit card payments.
4
  The Debtor provides shift differential payments (“Shift Differential Payments”) to Employees who work hours other
than those that are considered to be normal daytime shifts as partial compensation for working hours that might be
inconvenient or cause disruption to normal personal life. The Employees receiving Shift Differential Payments is
constantly changing as Employees frequently move from one shift to another. Shift Differential Payments are included
in the Wages owed pursuant to the motion.
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         127.      As of the Petition Date, twelve (12) Employees are receiving Recruitment

Incentives.5

         128.      As of the Petition Date, I understand that $1,070,000.00 in unpaid Wages are due

and owing but no Recruitment Incentives are currently due; however, approximately $6,875.00 in

Recruitment Incentives will become due and owing within the first 21 days of this Chapter 11

Case.

         129.      Accordingly, I understand that the Debtor owes approximately $1,100,000.00 on

account of accrued but unpaid Employee Earnings (excluding Payroll Taxes, Deductions, and

Reimbursable Expenses (each as defined below)), all of which will become due and owing within

the first 30 days of this Chapter 11 Case.

         130.      It is my understanding that payment of accrued but unpaid Employee Earnings will

not result in payments to any Employees in excess of the $13,650 priority cap in section 507(a)(4)

of the Bankruptcy Code.6

         131.      For the avoidance of doubt, the Debtor is not seeking authority to pay any Employee

Compensation outside of the ordinary course of business and the relief sought herein does not

implicate section 503(c) of the Bankruptcy Code.

         (ii)      Independent contractors.

         132.      In addition to the Employees, in the ordinary course of business, the Debtor

employs independent contractors (the “Independent Contractors”). On average, the Debtor incurs

expenses of approximately $4,000 per month in the aggregate on account of Independent


5
  Eleven (11) Employees are receiving sign on bonuses and one (1) Employee is receiving a referral bonus.
6
  Although the Debtor believes that no Employees’ Employee Earnings will exceed the statutory cap when excluding
accumulated obligations for Paid Time Off (as defined below), if accumulated Paid Time Off were included in
calculating Employee Earnings, the Debtor believes certain senior Employees do exceed the statutory cap due to the
large amount of unused Paid Time Off they have accrued. It is the Debtor’s policy to pay out unused Paid Time Off
to their Employees upon their termination so long as they provide at least two weeks’ notice (or one months’ notice
for managers/directors).
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Contractors’ compensation (the “Independent Contractor Obligations”). As of the Petition Date,

there is approximately $2,000 outstanding, on account of Independent Contractor Obligations.

         (iii)     Reimbursable expenses.

         133.      Prior to the Petition Date and in the ordinary course of business, the Debtor

reimbursed Employees, subject to manager approval, for certain allowed expenses, including, but

not limited to: (a) expenses incurred on behalf of the Debtor while traveling on business (e.g.,

airfare/rail, gas mileage, taxis, hotel and telephone/internet, and meals), (b) training courses and

certifications, and (c) on-site meals (the “Reimbursable Expenses”).

         134.      In addition, the Debtor reimburses nurse practitioners for the costs of attending

Continuing Medical Education courses (“CME”) up to a capped amount of $1,500 per year.

         135.      Employees pay for such expenses directly from their own funds and are reimbursed

upon the submission of an expense reimbursement form itemizing the applicable business

expenses.

         136.      Reimbursement is contingent on the Debtor’s determination that the charges are for

legitimate, reimbursable business expenses.

         137.      The Debtor’s incurrence of Reimbursable Expenses varies from month to month.

As a result, the Debtor cannot accurately estimate prepetition, unpaid Reimbursable Expenses,

however, Reimbursable Expenses approximate to $1,000.00 per month.

         138.      Employees incurred the Reimbursable Expenses as business expenses on the

Debtor’s behalf and with the understanding that they would be reimbursed.

         139.      As of the Petition Date, I understand that no prepetition Reimbursable Expenses

remain unpaid, however, to avoid harming Employees who incurred the Reimbursable Expenses,

the Debtor requests authority to: (a) continue paying the Reimbursable Expenses in accordance

with prepetition practices, including payment to and in adherence with the Debtor’s policy for
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reimbursing Employees such expenses, and honor any prepetition obligations, if any, related to

Reimbursable Expenses, to the extent Employees have paid for such expenses directly from their

own funds or are otherwise personally liable for such expenses; (b) modify the Debtor’s prepetition

policy relating to Reimbursable Expenses as the Debtor deems appropriate, without the need for

further court approval; and (c) pay all Reimbursable Expenses to Employees that (i) accrued

prepetition and (ii) accrue postpetition but relate to the prepetition period.

          (iv)     Company vehicles.

          140.     The Debtor provides certain Employees with access to vehicles that are fully

expensed by the Debtor when required for business-related travel. The Debtor does not currently

have any regular monthly expenses in connection with the ownership of these vehicles, however,

regular maintenance and other costs arise in the ordinary course of business. The Debtor requests

authority to pay any outstanding amounts and to continue to incur and pay ongoing expenses

relating to company vehicles in the ordinary course.

          141.     Fuel costs in respect of all company vehicles are paid by company gas card. The

average monthly cost in connection with the company gas cards with respect to use of the Debtor’s

company vehicles is approximately $200. The Debtor requests authority to pay any outstanding

amounts and to continue to incur and pay ongoing expenses relating to fuel costs in the ordinary

course.

          (v)      Holidays, paid time off, and leaves of absence.

          142.     The Employees are eligible for paid time away from work based on the Employee’s

length of service. These absences include holidays, personal illness, family illness, personal days,

and vacation (collectively, “Paid Time Off”).

          143.     Paid Time Off can be carried over from year to year up to a maximum number of

hours, depending on an Employee’s length of service.
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         144.      The Debtor anticipates that certain Employees will seek to use Paid Time Off

accrued during the prepetition period after the Petition Date. As of the Petition Date, I understand

that accrued liability in connection with unused Paid Time Off equaled approximately

$970,000.00.

       Deductions and Withholdings.

         145.      During each applicable payroll period, the Debtor routinely deducts certain

amounts from Employees’ gross pay, including, without limitation, (a) pre-tax and after-tax

deductions payable pursuant to the Employee Benefits (as defined below) discussed herein (e.g.,

contributions relating to health care benefits, insurance premiums and flexible spending programs)

and (b) other miscellaneous deductions (collectively, the “Deductions”).

         146.      On a monthly basis, the Debtor deducts and remits to appropriate third-party

recipients approximately $344,000.00 from the Employees’ paychecks for the Deductions.

         147.      As of the Petition Date, I understand that the Debtor owes approximately

$160,000.00 on account of prepetition Deductions. The Debtor requests authority to remit any

unpaid prepetition Deductions that may exist and seeks authority to continue deducting amounts

from the applicable Employee’s Wages and forwarding Deductions to the appropriate third-party

recipients on a postpetition basis, in the ordinary course of business, and consistent with past

practices.

         148.      In addition to the Deductions, the Debtor is required by law to withhold amounts

related to federal income taxes, as well as Social Security and Medicare taxes for remittance to the

appropriate taxing authority (collectively, the “Withheld Amounts”). The Debtor is also required

to pay additional amounts for federal and state unemployment insurance (together with the

Withheld Amounts, the “Payroll Taxes”).


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         149.      On a monthly basis, the Debtor remits approximately $550,000.00 in Payroll Taxes,

which amounts include employer taxes plus what is withheld and remitted on behalf of Employees.

         150.      I understand that as of the Petition Date, approximately $250,000.00 of prepetition

Payroll Taxes are outstanding (collectively, the “Unremitted Payroll Taxes”). The Debtor requests

authority to pay any Unremitted Payroll Taxes outstanding and to continue remitting such Payroll

Taxes postpetition in the ordinary course of business.

       Employee Benefits.

         151.      The Debtor offers Employees the opportunity to participate in a number of

insurance and benefit programs, including medical insurance, life and disability insurance,

education assistance, and other employee benefit plans as described below (collectively, the

“Employee Benefits”).

         152.      Maintaining these benefits and honoring obligations with respect to these benefits

is necessary to preserve employee morale and maintain the stability of the Debtor’s workforce

during the Chapter 11 Case.

         (i)       Medical, dental, and vision plans.

         153.      The Debtor provides health care coverage and dental care to all full-time

Employees and their dependents under various benefit plans, as follows (collectively, the

“Medical, Dental and Vision Plans”):7

                   a.      Medical Plan. The Debtor pays medical claims submitted by Employee
                   participants under the Blue Cross/Blue Shield of Texas administered plan (the
                   “BC/BS Claims”). As a self-funded plan, the Debtor withholds specified portions
                   of Employee wages and applies such funds to the satisfaction of stop loss premiums
                   and a portion of the claims. BC/BS Claims are typically paid on a weekly basis, but
                   are not always timely submitted by participants. The average monthly amount of
                   BC/BS Claims is approximately $300,000. As of the Petition Date, the Debtor

7
  The Debtor also periodically provides benefits to former employees under the Consolidated Omnibus Budget
Reconciliation Act of 1985 (“COBRA”). As of the Petition Date, one employees is receiving COBRA benefits from
the Debtor.
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                   estimates that approximately $78,000 of BC/BS Claims are outstanding based on
                   the Debtor’s current calculated lag rate, including those claims which may have not
                   yet been submitted. In addition to the BC/BS Claims, the Debtor incurs monthly
                   fees of approximately $78,000.

                   b.     Dental Plan. All full-time Employees are eligible to enroll in a dental plan,
                   administered by CIGNA. Employees contribute 100% of the premium cost of their
                   medical plans with pre-tax deductions from their paychecks.

                   c.      Vision Plan. All full-time Employees are eligible to enroll in a vision plan,
                   administered by Superior Vision. Employees contribute 100% of the premium cost
                   of their medical plans with pre-tax deductions from their paychecks.

         154.      I understand that the Debtor pays approximately $378,000 in aggregate monthly

premiums, BC/BS Claims, and administrative costs associated with the Medical, Dental and Vision

Plans described above.

         (ii)      Insurance and disability benefits.

         155.      The Debtor also provides eligible Employees with life insurance and accidental

death and dismemberment coverage up to one years’ salary (maximum of $200,000) (collectively,

the “Insurance and Disability Benefits”). The Insurance and Disability Benefits are provided

through CIGNA. The Debtor pays 100% of premiums for this coverage.The combined monthly

premium for the Insurance and Disability Benefits is approximately $20,000.00.

         156.      The Debtor also provides eligible Employees an option to purchase additional

Insurance and Disability Benefits coverage (the “Supplemental Insurance Benefits”), the

premiums for which are satisfied solely by participating Employees. The Debtor withholds from

participating Employees’ paychecks amounts sufficient to pay these premiums, but the Debtor

pays certain costs related to the Supplemental Insurance Benefits. I understand that the Debtor

remits a total of approximately $35,000.00 per month in aggregate premiums for the Supplemental

Insurance Benefits.



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         157.      As of the Petition Date, I understand that that no amounts for Insurance and

Disability Benefits or Supplemental Insurance Benefits are outstanding, however, out of an

abundance of caution, the Debtor requests authority to make any outstanding payments should the

Debtor determine that any amounts are outstanding and to continue to pay such premiums and

related costs on a postpetition basis in the ordinary course of business.

         (iii)     Workers’ compensation.

         158.      The Debtor provides workers’ compensation insurance for Employees (the

“Workers’ Compensation Program”) at the statutorily-required level through Texas Mutual

Insurance.

         159.      The annual premium for the Workers’ Compensation Program for the year 2019 is

approximately $140,000, which amount is paid through an initial down payment of approximately

$25,000 followed by twelve equal monthly payments in the amount of $9,500 each.

         160.      I understand that, as of the Petition Date, no amounts for the Workers’

Compensation Program are outstanding, however, out of an abundance of caution, the Debtor

requests authority to make any outstanding payments should the Debtor determine that any

amounts are outstanding.

         161.      The Debtor currently has one Employee claiming benefits under the Workers’

Compensation Program and requests authority to pay any unpaid amounts in connection with

Workers’ Compensation Programs, should any such amount be outstanding as of the Petition Date.

         (iv)      Employee savings plans.

         162.      The Debtor maintains for the benefit of eligible Employees an employee savings

plan, administered through Lincoln Financial Group, which is a tax-qualified plan within the

meaning of, and administered in accordance with, the requirements of section 403(b) and other

applicable sections of the Internal Revenue Code (the “403(b) Plan”).
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         163.      The Debtor withholds certain amounts from participating Employees’ paychecks

and contributes such amounts to the 403(b) Plan (the “Employee 403(b) Contributions”). In

addition to the Employees’ contributions, the Debtor matches 50% of an Employee’s salary

deferrals up to 6% of the Employee’s salary (the “Employer 403(b) Contributions”). The

Employer 403(b) Contributions vest according to a vesting schedule based upon the Employee’s

tenure with the Debtor.

         164.      The Debtor also maintains for the benefit of eligible Employees a separate

employee savings plan for highly compensated individuals, administered through Lincoln

Financial Group, which is a tax-qualified plan within the meaning of, and administered in

accordance with, the requirements of section 457(b) and other applicable sections of the Internal

Revenue Code (the “457(b) Plan” and together with the 403(b) Plan, the “Employee Savings

Plans”).

         165.      The Debtor withholds certain amounts from participating Employees’ paychecks

and contributes such amounts to the 457(b) Plan (the “Employee 457(b) Contributions”). The

Debtor does not provide any employer contributions/matches for the Employees participating in

the 457(b) Plan.

         166.      Eligible Employees also have the option of contributing to Roth IRA accounts (the

“Roth IRA Accounts” and together with the 403(b) Plan and 457(b) Plan, the “Employee Savings

Plans”) administered through Lincoln Financial Group. The Debtor withholds certain amounts

from participating Employees’ paychecks and contributes such amounts to the Roth IRA Accounts

(the “Roth IRA Contributions” and together with the Employee 403(b) Contributions, Employer

403(b) Contributions, and Employee 457(b) Contributions, the “Employee Savings Plan




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Contributions”). The Debtor does not provide any employer contributions/matches for the

Employees participating in the Roth IRA Accounts.

         167.      I understand that the Debtor withholds a total of approximately $473,000.00 in

Employee Savings Plan Contributions each month.

         168.      In addition, the Debtor incurs various fees for the administration of the Employee

Savings Plans, including (i) an annual $62,500 administrative fee to Lockton Investment Advisors,

LLC, and (ii) an annual $15,000 portfolio modeling fee to Lockton Investment Advisors, LLC

(collectively, the “Employee Savings Plan Fees”). I understand that no Employee Savings Plan

Fees are currently due and owing.

         (v)       Retirement Plan

         169.      Prior to 2005, the Debtor offered eligible Employees the ability to participate in a

Debtor-funded retirement plan (the “Retirement Plan”). The Retirement Plan was frozen on

December 31, 2004, however, payments are still being made to Employees who were participating

in the Retirement Plan before that date. The Retirement Plan is not fully funded and, therefore, the

Debtor is obligated to make quarterly payments to the Retirement Plan (the “Retirement Plan

Payments”). The next Retirement Plan Payment of approximately $307,000 will become due and

owing on December 31, 2019.8

         170.      Rudd & Wisdom serves as the actuarial for the Retirement Plan and is compensated

on a monthly basis. Rudd & Wisdom’s compensation varies from month-to-month depending on




8
 The quarterly Retirement Plan Payments are not in equal installments. All 2019 quarterly Retirement Plan Payments
except the December payment are $54,000. The actuarial, Rudd & Wisdom, conducts an annual actuarial valuation to
project the next years’ funding shortfall. Rudd & Wisdom is currently projecting next years’ quarterly payments to be
$113,000. Following the December 31, 2019 payment, the next quarterly Retirement Plan Payment will become due
and owing on April 15, 2020.
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the services actually performed during the billing cycle, however, on average the Debtor pays

Rudd & Wisdom approximately $20,000 per month (the “Actuarial Fees”).

         171.      The Employees are an essential component of the Debtor’s operations. The failure

to satisfy the Employee Obligations would result in Employee attrition and loss of morale during

a crucial time in this Chapter 11 Case. Therefore, on behalf of the Debtor, I believe the Court

should grant the Wage Motion.

         F. Debtor’s Emergency Motion for Entry of               Interim and Final Orders
            (I) Authorizing the Debtor to (A) Obtain Postpetition Secured Financing and
            (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative
            Expense Status, (III) Granting Adequate Protection, (IV) Modifying the
            Automatic Stay, and (V) Scheduling a Final Hearing (the “DIP Motion”).

         172.      Based on the Debtor’s diligence into potential new funding sources, the Debtor has

determined that the DIP Facility presents the best viable mechanism for providing the liquidity

that the Debtor requires to continue its operations. I believe that it is in the best interests of the

Debtor’s business, creditors, and other parties-in-interest to commence the Chapter 11 Case with

the DIP Facility in order to pursue a sale of the Debtor’s assets.

         The Terms of the DIP Facility were Heavily Negotiated and are the Only Terms on
         which the DIP Lender Will Provide the DIP Facility

         173.      Prior to the Petition Date, the Debtor and its advisors undertook a detailed

investigation as to the Debtor’s projected financing needs during the pendency of the Chapter 11

Case and determined that the Debtor would require postpetition financing to support its operational

activities and sale process. After extended good faith, arm’s-length negotiations, the Prepetition

Lender, as proposed DIP Lender, agreed to provide the DIP Facility on the terms provided in the

DIP Financing Documents, which are summarized in the DIP Motion. Importantly, the DIP

Lender has agreed through the DIP Facility to remove certain reserves on the Debtor’s borrowing

base that will result in $1.5 million of previously unavailable revolving loan availability under the

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Prepetition Credit Facility. I believe that the terms of the DIP Facility are reasonable and that the

DIP Facility provides that Debtor with the liquidity necessary to conduct the Chapter 11 Case.

         174.      Based on the extensive, good faith, arm’s-length negotiations that took place prior

to the Petition Date, it is my understanding that the DIP Lender would not have been amenable to

providing financing without the heavily bargained-for protections detailed in the DIP Motion, and

I believe that the Debtor would not be able to obtain financing from the DIP Lender other than

financing secured by first priority priming liens. I therefore believe that the DIP Facility provides

the Debtor with the best, most feasible, and most value-maximizing financing option available at

this time.

         175.      Absent the DIP Lender’s willingness and ability to fund the DIP Facility, the Debtor

would likely run out of cash and would be forced to shut down its operations, threatening the

Debtor’s going concern value. Moreover, no third party lenders were in a position to provide as

certain a financing arrangement on the terms currently available under the DIP Facility.

Accordingly, I believe that the DIP Facility was negotiated with the DIP Lender in good faith, at

arm’s-length, and with the assistance of outside counsel, to obtain the required postpetition

financing on terms favorable to the Debtor and that the certainty afforded by the DIP Facility —

with respect to both its consensual nature as well as the likelihood of closing and the DIP Lender’s

support of the Debtor’s sale efforts — provides additional and ample reason to authorize it.

         The Terms of the Debtor’s Cash Collateral Use are Fair and Reasonable

         176.      In addition to the DIP Facility, the Debtor requires the continued use of their

existing Cash Collateral, and the Prepetition Lender has consented to the Debtors’ continued use

of Cash Collateral subject to the terms of the Interim Order. I have been informed that the Debtor

therefore has the requisite consent to use Cash Collateral.


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         177.      The DIP Financing Documents ensure the Debtor’s continued access to Cash

Collateral. I believe that continued access to Cash Collateral will (a) ensure that the Debtor has

access to sufficient working capital to, among other things, pay their employees, vendors, and

suppliers, (b) enable the Debtor to continue honoring their prepetition obligations under and in

accordance with other first-day orders entered by the Court, and (c) satisfy administrative expenses

incurred in connection with the commencement of the chapter 11 case.

         The Adequate Protection Offered to the Prepetition Lender is Justified

         178.      The Debtor and the Prepetition Lender have agreed on the adequate protection

described in the DIP Motion, including compliance with the Budget, replacement liens,

superpriority claims, and payment of weekly interest and fees and expenses that will adequately

protect the Lender’s interests in the Prepetition Collateral from diminution in value caused by the

Debtor’s use of the Cash Collateral, as well as for any decline in, or diminution of, the value of the

Prepetition Lender’s liens or security interests under the Prepetition Credit Documents.

         179.      In addition to the adequate protection itself, I believe the Debtor’s preservation of

estate assets through the use of Cash Collateral serves as its own form of adequate protection.

Indeed, the Debtor’s secured creditors will inherently benefit from the Debtor’s proposed use of

the Cash Collateral, which will prevent diminution of the value of the Prepetition Collateral and

enhance the likelihood of preserving and maximizing the Debtor’s overall going concern value.

         The DIP Facility Was Negotiated in Good Faith

         180.      I believe that the DIP Facility is the result of the Debtor’s reasonable and informed

determination that the DIP Lender offered the most favorable terms on which to obtain needed

postpetition financing, and of extended arm’s- length, good faith negotiations between the Debtor

and the DIP Lender. I believe the terms and conditions of the DIP Facility are fair and reasonable,


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and the proceeds under the DIP Facility will be used only for purposes that are permissible under

the Bankruptcy Code. I also believe that no consideration is being provided to any party to the DIP

Facility other than as described in the DIP Motion.

         Modification of the Automatic Stay Is Warranted

         181.      As part of the relief requested in the DIP Motion, the Debtor has requested certain

modification to the automatic stay. These provisions were part of the quid pro quo for the Debtor’s

ability to obtain the DIP Facility and use Cash Collateral as provided in the DIP Financing

Documents and in the Interim Order. Notably, the exercise of remedies will be subject to three

Business Days’ notice to allow the Debtor to cure or seek other relief. Under these circumstances,

I believe that the extent of the modifications to the automatic stay under the Interim Order is

reasonable and should be approved.

         The Debtor Requires Immediate Access to Cash Collateral and the DIP Facility

         182.      I believe the Debtor and its estate will suffer immediate and irreparable harm if the

interim relief requested in the DIP Motion, including authorizing the Debtors to use the Cash

Collateral and to borrow up to $5 million, including $1.5 million in “new money” resulting from

the release by the DIP Lender of certain reserves under the Prepetition Credit Facility, is not

granted promptly. I further believe that the commencement of the chapter 11 case has already and

will continue to significantly increase their expenses as a result of, among other things, the costs

of administering the chapter 11 case and addressing key constituents’ concerns regarding the

Debtor’s financial health and ability to continue operations in light of the chapter 11 case. I believe

that, unless the Court approves the Debtor’s interim access to the DIP Facility funds, it is likely

that the Debtor will run out of cash in the near term. Accordingly, I believe that the Debtor has an

immediate need for access to liquidity to, among other things, permit the orderly continuation of


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the operation of their business, to make payroll, and to satisfy other working capital and operation

needs, all of which are required to preserve and maintain the Debtor’s going concern value for the

benefit of all parties in interest.

         183.      Based on these circumstances, the Debtor requires the interim funding provided by

the DIP Facility to avoid immediate and irreparable harm to its operations, businesses, and estates.

Accordingly, on behalf of the Debtor, I respectfully submit that the Court should approve the DIP

Motion.

         G. Debtor’s Emergency Motion for an Order Extending the Time to File
            (I) Schedules of Assets and Liabilities, (II) Statements of Financial Affairs, and
            (III) Rule 2015.3 Financial Reports (the “Schedule Extension Motion”).

         184.      Pursuant to the Schedule Extension Motion, the Debtor requests entry of an order

(i) granting the Debtor a total of 30 days from the Petition Date (the “Extension Period”) to file

the Schedules and Statements, without prejudice to the Debtor’s ability to request an additional

extension of time should it become necessary; (ii) extending the deadline by which the Debtor

must file its initial reports of financial information, or to file a motion seeking a modification of

such reporting requirements for cause, with respect to entities in which the Debtor holds a

controlling or substantial interest as set forth in Bankruptcy Rule 2015.3 (the “2015.3 Reports”)

to the later of: (a) 30 days after the meeting of creditors to be held pursuant to section 341 of the

Bankruptcy Code (the “341 Meeting”) or (b) 30 days from the Petition Date, without prejudice to

the Debtor’s ability to request additional extensions for cause shown, and (iii) granting such other

and further relief as is just and proper.

         185.      The size and complexity of the Debtor’s business operations and the number of

creditors likely to be involved in this Chapter 11 Case will make it difficult for the Debtor’s

management to complete the Schedules and Statements within the required time period. Further,

given the numerous critical operational matters that the Debtor’s accounting and legal personnel
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must address in the early days of this Chapter 11 Case and the volume of information that must be

compiled and reviewed, I believe that the Debtor will be unable to complete the Schedules and

Statements within the time provided under Bankruptcy Rule 1007.

         186.      Accordingly, given the volume and complexity of the information that must be

compiled and reviewed, in addition to the substantial burdens already imposed on the Debtor’s

management by the commencement of this Chapter 11 Case, the limited number of employees

available to collect the information, and the competing demands upon employees, I believe that

“cause” exists to extend the Schedules Deadline through and including December 11, 2019, which

will give the Debtor a total of 30 days after the Petition Date to file the Schedules and Statements.

The requested extension and waiver will enhance the accuracy of the Schedules and Statements

and avoid the necessity of substantial subsequent amendments.

         187.      Accordingly, on behalf of the Debtor, I submit the Schedule Extension Motion

should be granted.

         H. Debtor’s Application for Order Appointing Epiq Corporate Restructuring, LLC
            as Claims, Noticing, Solicitation, and Administrative Agent (the “Claims Agent
            Application”).

         188.      Pursuant to the Claims Agent Application, the Debtor seeks entry of an order

appointing Epiq Corporate Restructuring, LLC (“Epiq”) as the claims agent (the “Claims Agent”)

for the Debtor and their Chapter 11 Case, including assuming full responsibility for the distribution

of notices and the maintenance, processing and docketing of proofs of claim filed in the Debtor’s

Chapter 11 Case. The Debtor submits that Epiq’s rates are competitive and reasonable given

Epiq’s quality of services and expertise.

         189.      Although the Debtor has not yet filed their schedules of assets and liabilities, they

anticipate that there will be in excess of 5,000 entities to be noticed. In view of the number of

anticipated claimants and the complexity of the Debtor’s business, I submit that the appointment
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of a claims and noticing agent will provide the most effective and efficient means of, and relieve

the Debtor and/or the Office of the Clerk of the Bankruptcy Court of the administrative burden

of, noticing, administering claims, and soliciting and balloting votes and is in the best interests

of both the Debtor’s estate and their creditors.

         190.      Accordingly, I believe that appointing Epiq as the claims, noticing and balloting

agent in this Chapter 11 Case will maximize the value of the Debtor’s estate for all of their

stakeholders and should therefore be approved by the Court.

         I. Debtor’s Emergency Motion for Entry of an Order Authorizing the Debtor to
            (I) Maintain, Administer, Modify, and Renew Their Refund Programs and
            Practices and (II) Honor Obligations Related Thereto (the “Refunds Motion”).

         191.      Pursuant to the Refunds Motion, the Debtor requests entry of an order

(a) authorizing the Debtor (i) to maintain, administer, modify, and renew its Refund Program and

make payments to patients and allow offsets by Third-Party Payors or to otherwise honor accrued

prepetition obligations owed under its Refund Program (collectively, and as identified herein, the

“Refund Program Obligations”) and (ii) to continue, replace, modify, or terminate any Refund

Program in the ordinary course of business, (b) authorizing and directing financial institutions to

receive, process, honor, and pay all related checks and electronic payment requests for payment of

Refund Program Obligations, and (c) granting related relief.

         192.      Various state and federal laws require the Debtor to refund patients and third-party

payors, including healthcare insurers, managed care organizations, workers’ compensation

programs, contract management services, private pay sources, Medicare, and Medicaid

(collectively, “Third-Party Payors”), when overpayments are identified. In the ordinary course

of business, the Debtor routinely issues refunds or is subject to offsets for reimbursement of

overpayments made by or on behalf of patients resulting from the interaction between the Debtor’s


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billing procedures, patient medical insurance deductibles, and third-party payments (the “Refund

Program”).

         193.      The case-by-case nature of the Debtor’s medical services makes the process of

determining each patient’s insurance coverage particularly complex. As a result, whether due to

data input errors during claims processing, or overpayments arising from coordination-of-benefits

issues among multiple insurers, patient accounts—once fully processed—may contain credit

balances. Once the Debtor receives payments from patients or insurers, the Debtor reviews

accounts that have credit balances and refunds any surplus to the patient or are subject to an offset

to the Third-Party Payor’s receivable balance based on an overpayment, as required.

         194.      When the Debtor discovers and verifies an overpayment from a patient or Third

Party Payor, the amount of the overpayment is reviewed in the Debtor’s billing system, which then

administers refunds to the patient as appropriate. Offsets by Third-Party Payors are reconciled by

the Debtor after the offset occurs. There is typically a significant lag between when the patient is

treated, when the overpayment is recognized or determined, and when the overpayment is

reviewed in the Debtor’s billing system. After the overpayment amount is determined, either the

Debtor issues a check or other form of payment to the patient or the Third Party Payor offsets

future receivables in the amount of the overpayment.

         195.      At any given time, it is difficult to determine the amount of outstanding

overpayments that have been made and identified, but for which a refund check or offset has not

yet been issued. Moreover, some refund checks issued to patients before the petition date may not

have been presented for payment or may not have cleared the Debtor’s banking system or

accounting system and, accordingly, have not been honored and paid as of the petition date.

Nonetheless, the Debtor is required, under various laws, to reimburse patients and Third-Party


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Payors as overpayments are identified. I understand that approximately $20,000 in refunds to

patients or Third-Party Payor offsets are processed in a given month, although larger amounts of

refunds may be due and owing at any given time.

         196.      As of the Petition Date, the Debtor estimates that approximately $1,955,000 in

refunds and credit balances may be due and owing under the Refund Program, of which

approximately $14,000 could become due and owing during the first 21 days of this Chapter 11

Case. Failure to honor the Refund Program Obligations could materially harm the Debtor’s going

concern vale to the detriment of the Debtor and its estate. Accordingly, I submit that the Refund

Motion should be approved.

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         Pursuant to 28 U.S.C. § 1746, under penalty of perjury, I declare the foregoing is true and

correct, to the best of my knowledge, information, and belief.

Dated: November 11, 2019                              Respectfully submitted,



                                                             /s/ Steven L. Smith
                                                      Steven L. Smith
                                                      Chief Executive Officer




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